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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE NORTHERN DISTRICT OF ILLINOIS

                                     EASTERN DIVISION



                 Daniel Rodriguez,
                                                                     Case No. 22 cv 6141
                      Plaintiff,
                                                                   Hon. Edmund E. Chang,
                          v.                                           District Judge.

             Reynaldo Guevara et al.,                                Hon. Beth W. Jantz,
                                                                      Magistrate Judge.
                     Defendants.



                           DECLARATION OF OSCAR GOMEZ

       I, Oscar Gomez, hereby declare as follows:

       1.      My name is Oscar Gomez. I am currently employed as an investigator at Loevy

and Loevy.

       2.      On August 12th, 2024, I served Plaintiff’s Motion for A Contempt Order and Writ

of Body Attachment Regarding Jason Rivera on witness Jason Rivera personally at his home at

315 Lousia Street North, Shorewood, IL.

       3.      When I arrived at Mr. Rivera’s home, I knocked on the door and rang the

doorbell. I heard what sounded like people walking around and speaking inside of the house but

no one came to the door. I saw the doorbell camera light up multiple times while I was standing

there but no one spoke through it.

       4.      After a few minutes of waiting I returned to my car that was parked on the street. I

sat in my car for about 10 minutes, at which point Jason came out to his front yard with a small

dog. I walked up to him and handed him the motion, told him that he had been served, and
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reminded him that he hasn’t shown up to any of his past depositions. He said “okay.” I asked if

he needed me to give him any of the attorneys’ phone numbers and he said “no.” Then I left.

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.



Date: August 14, 2024                                 /s/ Oscar Gomez
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                              CERTIFICATE OF SERVICE



I, Oscar Gomez, an attorney, certify that on August 14, 2024 I filed the foregoing declaration

    using the Court’s CM/ECF system, which effected service on all counsel of record.



                                                                         /s/     Steve Art

                                                                    One of Plaintiff’s Attorneys
